Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 1 of 33 Page ID #:577



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                           CENTRAL DISTRICT OF CALIFORNIA
  17
  18    In re PANDORA MEDIA, LLC               Master File No. 2:22-cv-00809-MCS-MAR
        COPYRIGHT LITIGATION
  19                                          CONSOLIDATED ACTION
  20                                           DEFENDANT AND
                                               COUNTERCLAIMANT PANDORA
  21                                           MEDIA, LLC’S OPPOSITION TO
                                               PLAINTIFFS/COUNTERCLAIM
  22    This Document Relates To:              DEFENDANTS’ MOTION TO DISMISS
  23    ALL ACTIONS                            Filed concurrently with Pandora’s Opposition
                                               to Plaintiffs’ Joinder in Motion to Dismiss
  24                                           and Pandora’s Opposition to Request for
                                               Judicial Notice
  25
                                               Date:      August 29, 2022
  26                                           Time:      9:00 AM
                                               Crtrm:     7C - First Street Courthouse
  27                                                      350 W. 1st Street, 7th Floor
                                                          Los Angeles, CA 90021
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                                  PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 2 of 33 Page ID #:578



    1                                            TABLE OF CONTENTS
    2                                                                                                                    Page
    3   INTRODUCTION ..................................................................................................... 1
    4   STATEMENT OF FACTS ........................................................................................ 2
    5   APPLICABLE LEGAL STANDARDS .................................................................... 5
    6   ARGUMENT ............................................................................................................. 6
    7   I.       Pandora May Challenge WC’s Anti-Competitive Conduct. ........................... 6
    8            A.       Pandora has Article III and antitrust standing. ..................................... 6
    9            B.       Noerr-Pennington has no bearing on Pandora’s counterclaims. ........ 10
  10    II.      Pandora Has Pleaded Plausible Antitrust Claims. ........................................ 12
  11             A.       Pandora was not required to engage in a futile act by trying
  12                      to break the WC cartel. ....................................................................... 12
  13             B.       Pandora adequately alleges Section 2 claims. .................................... 15
  14             C.       Pandora adequately alleges Section 1 claims. .................................... 20
  15    CONCLUSION........................................................................................................ 25
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                  -i-
                                             PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 3 of 33 Page ID #:579



    1                                        TABLE OF AUTHORITIES
    2                                                                                                              Page(s)
    3   Cases
    4   Abbott Labs. v. Teva Pharms. USA, Inc.,
    5     432 F. Supp. 2d 408 (D. Del. 2006) .................................................................... 10

    6   Am. Ad Mgmt., Inc. v. GTE Corp.,
          92 F.3d 781 (9th Cir. 1996) ................................................................................... 7
    7
    8   Amphastar Pharm. Inc. v. Momenta Pharms., Inc.,
          850 F.3d 52 (1st Cir. 2017) ................................................................................. 10
    9
        Anderson v. Boyne USA, Inc.,
  10      2022 WL 2528242 (D. Mont. July 7, 2022) ........................................................ 18
  11
        Apple v. Motorola Mobility, Inc.,
  12      886 F. Supp. 2d 1061 (W.D. Wisc. 2021) ........................................................... 11
  13    Ashcroft v. Iqbal,
  14       556 U.S. 662 (2009) ........................................................................................ 5, 16
  15    Ass’n of Irritated Residents v. EPA,
  16       10 F.4th 937 (9th Cir. 2021) .................................................................................. 8

  17    Bell Atl. Corp. v. Twombly,
           550 U.S. 544 (2007) ........................................................................................ 6, 16
  18
  19    Big Bear Lodging Ass’n v. Snow Summit, Inc.,
           182 F.3d 1096 (9th Cir. 1999) ............................................................................. 16
  20
        Blizzard Entm’t Inc. v. Ceiling Fan Software LLC,
  21
           941 F. Supp. 2d 1227 (C.D. Cal. 2013) ......................................................... 15, 16
  22
        Broad. Music, Inc. v. Columbia Broad. Sys., Inc.,
  23       441 U.S. 1 (1979) ............................................................................................ 3, 21
  24
        Cascade Health Sols. v. PeaceHealth,
  25      515 F.3d 883 (9th Cir. 2008) ............................................................................... 24
  26    City of Oakland v. Oakland Raiders,
  27       20 F.4th 441 (9th Cir. 2021) .............................................................................. 6, 8
  28
                                                                 -ii-
                                             PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 4 of 33 Page ID #:580



    1   Coalition for ICANN Transparency, Inc. v. VeriSign, Inc.,
    2     611 F.3d 495 (9th Cir. 2010) ......................................................................... 15, 20

    3   CollegeNET v. The Common Application, Inc.,
          711 F. App’x 405 (9th Cir. 2017) ........................................................................ 17
    4
    5   CollegeNet, Inc. v. The Common Application, Inc.,
          355 F. Supp. 3d 926 (D. Or. 2018) ...................................................................... 20
    6
        Columbia Broad. Sys. v Am. Soc’y of Composers, Authors &
    7
          Publishers, 620 F.2d 930 (2d Cir. 1980) ............................................................. 13
    8
        Datel Holdings Ltd. v. Microsoft Corp.,
    9     712 F. Supp. 2d 974 (N.D. Cal. 2010)................................................................. 16
  10
        Eastman Kodak Co. v. Image Tech. Servs., Inc.,
  11      504 U.S. 451 (1992) ............................................................................................ 17
  12    Eastman v. Quest Diagnostics Inc.,
  13      108 F. Supp. 3d 827 (N.D. Cal. 2015)................................................................... 7
  14    Edwards Vacuum, LLC v. Hoffman Instrumentation Supply, Inc.,
          556 F. Supp. 3d 1156 (D. Or. 2021) ...................................................................... 9
  15
  16    Eminence Cap., LLC v. Aspeon, Inc.,
          316 F.3d 1048 (9th Cir. 2003) ............................................................................. 25
  17
        Freeman v. San Diego Ass’n of Realtors,
  18
           322 F.3d 1133 (9th Cir. 2003) ............................................................................. 25
  19
        Gerlinger v. Amazon.com Inc.,
  20      526 F.3d 1253 (9th Cir. 2008) ............................................................................... 7
  21
        Grid Sys. Corp. v. Texas Instruments Inc.,
  22       771 F. Supp. 1033 (N.D. Cal. 1991).................................................................... 24
  23    Hicks v. PGA Tour, Inc.,
  24       897 F.3d 1109 (9th Cir. 2018) ............................................................................. 17
  25    High Tech. Careers v. San Jose Mercury News,
  26       996 F.2d 987 (9th Cir.1993) ................................................................................ 19

  27    Image Tech. Servs., Inc. v. Eastman Kodak Co.,
          125 F.3d 1195 (9th Cir. 1997) ............................................................................. 19
  28
                                                               -iii-
                                            PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 5 of 33 Page ID #:581



    1   Intel Corp. v. Fortress Invests. Grp. LLC,
    2      2020 WL 6390499 (N.D. Cal. July 15, 2020) ................................................. 9, 11

    3   Intellectual Ventures I LLC v. Capital One Fin. Corp.,
           99 F. Supp.3d 610 (D. Md. 2015) ..................................................................... 7, 9
    4
    5   Jefferson Parish Hosp. Dist. No. 2 v. Hyde,
           466 U.S. 2 (1984) .......................................................................................... 24, 25
    6
        Las Vegas Sun v. Adelson,
    7
           2022 WL 876937 (D. Nev. Mar. 23, 2022) ......................................................... 18
    8
        MCA Tele. Ltd. v. Pub. Interest Corp.,
    9     171 F.3d 1265 (11th Cir. 1999) ........................................................................... 24
  10
        McCray v. Fidelity National Title Ins.,
  11      682 F.3d 229 (3d Cir. 2012) .................................................................................. 8
  12    Meredith Corp. v. SESAC LLC,
  13      1 F. Supp. 3d 180 (S.D.N.Y. 2014) ......................................................... 14, 19, 21
  14    Meredith Corp. v. SESAC LLC,
          2011 WL 856266 (S.D.N.Y. Mar. 9, 2011)............................................... 2, 19, 22
  15
  16    Momento, Inc. v. Seccion Amarilla USA,
          2009 WL 10696217 (N.D. Cal. Sept. 17, 2009).................................................... 6
  17
        Moore v. Mars Petcare US, Inc.,
  18
          966 F.3d 1007 (9th Cir. 2020) ........................................................................... 2, 5
  19
        In re Musical Instruments & Equip. Antitrust Litig.,
  20        798 F.3d 1186 (9th Cir. 2015) ....................................................................... 20, 21
  21
        In re Nat’l Football League’s Sunday Ticket Antitrust Litig.,
  22        933 F.3d 1136 (9th Cir. 2019) ....................................................................... 15, 20
  23    Nero AG v. MPEG LA, LLC,
  24      2010 WL 4366448 (C.D. Cal. Sep. 14, 2010) ............................................... 13, 14
  25    Newcal Indus., Inc. v. Ikon Office Sol.,
  26      513 F.3d 1038 (9th Cir. 2008) ............................................................. 6, 15, 16, 25

  27    No Spill, LLC v. Scepter Canada, Inc.,
          2021 WL 3856619 (D. Kan. Aug. 30, 2021) ....................................................... 11
  28
                                                                -iv-
                                            PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 6 of 33 Page ID #:582



    1   PLSCom LLC v. Nat’l Ass’n of Realtors,
    2     32 F.4th 824 (9th Cir. 2022) .................................................................................. 6

    3   PrimeTime 24 Joint Venture v. Nat’l Broad. Co.,
           219 F.3d 92 (2d Cir. 2000) .................................................................................. 11
    4
    5   Radio Music License Comm., Inc. v. Global Music Rights, LLC,
          No. 2:19-cv-03957 (C.D. Cal. Feb. 13, 2020) ................................................. 2, 22
    6
        Rebel Oil Co. v. Atl. Richfield Co.,
    7
          51 F.3d 1421 (9th Cir. 1995) ......................................................................... 17, 18
    8
        Samsung Elecs. Co., Ltd., v. Panasonic Corp.,
    9     2015 WL 10890655 (N.D. Cal. Sep. 30, 2015) ....................................... 12, 13, 14
  10
        Sosa v. DirecTV, Inc.,
  11       437 F.3d 923 (9th Cir. 2006) ............................................................................... 11
  12    Spokeo, Inc. v. Robins,
  13       578 U.S. 330 (2016) .............................................................................................. 6
  14    Staley v. Gilead Scis.,
           446 F. Supp. 3d 578 (N.D. Cal. 2020)........................................................... 16, 17
  15
  16    Starr v. Baca,
           652 F.3d 1202 (9th Cir. 2011) ............................................................................. 22
  17
        Sumitomo Mitsubishi Silicon Corp. v. MEMC Elec. Materials, Inc.
  18
          2007 WL 2318903 (N.D. Cal. Aug. 13, 2007) .............................................. 13, 14
  19
        Susan B. Anthony List v. Driehaus,
  20       573 U.S. 149 (2014) .............................................................................................. 8
  21
        Times-Picayune Publ’g Co. v. United States,
  22       345 U.S. 594 (1953) ............................................................................................ 24
  23    TYR Sport Inc. v. Warnaco Swimwear Inc.,
  24      679 F. Supp. 2d 1120 (C.D. Cal. 2009) ............................................................... 16
  25    United States v. Apple, Inc.,
  26      791 F.3d 290 (2d Cir. 2015) ................................................................................ 23

  27    United States v. Loew’s, Inc.,
          371 U.S. 38 (1962) .............................................................................................. 24
  28
                                                                 -v-
                                             PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 7 of 33 Page ID #:583



    1   United States v. Paramount Pictures, Inc.,
    2     334 U.S. 131 (1948) ...................................................................................... 24, 25

    3   In re Zappos, Inc.,
            888 F.3d 1020 (9th Cir. 2018) ........................................................................... 6, 8
    4
    5   Statutes & Rule

    6   15 U.S.C. § 1...................................................................................................... passim
    7   15 U.S.C. § 2...................................................................................................... passim
    8
        Fed. R. Civ. P. 12(b)(6) ............................................................................................ 15
    9
        Other Authorities
  10
        P. Areeda & H. Hovenkamp, Antitrust Law (4th and 5th eds.
  11
           2015-2021)..................................................................................................... 24, 25
  12
        U.S. Department of Justice June 26, 1997 Response to Business
  13       Review Letter to Trustees of Columbia University, et al., available
  14       at https://www.justice.gov/sites/default/files/atr/legacy/2006/10/17/
           215742.pdf ........................................................................................................... 13
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                   -vi-
                                              PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 8 of 33 Page ID #:584



    1                                    INTRODUCTION
    2         Pandora’s counterclaims allege a classic antitrust violation: Counterclaim
    3   defendant Word Collections (WC) has joined competing comedians into a
    4   consortium, eliminated competition between those comedians, and increased prices
    5   for their products to a supracompetitive level.
    6         As Pandora’s counterclaims allege clearly and in detail, WC has consolidated
    7   the competing works of its numerous comedian clients into a single portfolio; taken
    8   exclusive control over licensing those works; set the royalty for the works; and is
    9   licensing the works on a blanket, all-or-nothing basis. Specifically, the counterclaims
  10    allege, among other things:
  11          First, WC and its numerous comedian clients seek to achieve monopoly power
  12    over Pandora and other services that use comedy by consolidating the competing
  13    comedians’ alleged “literary-works” rights with WC through “exclusive affiliation
  14    agreements”; setting a fixed, uniform royalty for the rights for all the works in the
  15    resulting catalog; and having WC make that catalog available to services like Pandora
  16    only on a blanket, “all-or-nothing” basis.
  17          Second, these concerted and coercive licensing tactics eliminate all possibility
  18    of price competition between the counterclaim-defendant comedians (and other WC
  19    client comedians) to have their works performed on services like Pandora, forcing
  20    such services to either (1) acquire a license from WC at a price that WC and its
  21    member comedians have jointly fixed; or (2) forgo streaming comedy altogether.
  22          Third, through their conspiracy, WC and its co-conspirator comedians are
  23    attempting to jointly upend historic custom and practice, subvert existing licenses,
  24    and give themselves new, artificial hold-up power. If allowed to proceed, that tactic
  25    will force services that stream comedy to secure multiple licenses at various stages
  26    along the distribution chain, driving up license fees.
  27          This is hardly “the benign and procompetitive activity” proclaimed by WC at
  28

                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 9 of 33 Page ID #:585



    1   Mot. 1. To the contrary, as WC has elsewhere (and more candidly) characterized its
    2   scheme, it has set out to make itself “the ASCAP and BMI for spoken word instead
    3   of music.” Counterclaims ¶¶ 16, 44 (ECF No. 34). And that model is neither benign
    4   nor procompetitive: The music licensing practices of ASCAP and BMI prompted
    5   antitrust suits by the U.S. Department of Justice decades ago, resulting in consent
    6   decrees—which remain in place to this day—designed to limit the competitive harms
    7   posed by those organizations. More recently, there have been multiple private
    8   antitrust actions (including in this district) against similar but smaller unregulated
    9   performing rights organizations (PROs). Those suits made allegations similar to
  10    those raised here, and all survived motions to dismiss. See, e.g., Order, Radio Music
  11    License Comm., Inc. v. Global Music Rights, LLC, No. 2:19-cv-03957 (C.D. Cal.
  12    Feb. 13, 2020), ECF No. 201; Meredith Corp. v. SESAC LLC, 2011 WL 856266, at
  13    *3-4 (S.D.N.Y. Mar. 9, 2011). And as we explain below, WC’s behavior is
  14    considerably more vulnerable to antitrust challenge than was that of those PROs.
  15          Rather than justify its actual conduct, WC mischaracterizes key allegations in
  16    the counterclaims, ignores those allegations that conflict with its false narrative,
  17    distorts the law in several critical respects, and—not least—uses wildly hyperbolic
  18    language. But screaming loudly is no substitute for having something persuasive to
  19    say. WC does not; its motion to dismiss should be denied.
  20                               STATEMENT OF FACTS1
  21          1. Pandora is an audio streaming service. Although most of the material
  22    available on Pandora is music, since 2011 Pandora also has provided its users with
  23    comedy and other spoken-word audio programming. Counterclaims ¶¶ 7, 31. To offer
  24    a viable comedy streaming service, Pandora needs access, including any necessary
  25    licenses, to quality recorded comedy routines by a sufficient range of comedians of
  26
  27    1
         The factual statements here are taken from the counterclaims and are treated as true.
  28    See, e.g., Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1016 (9th Cir. 2020).
                                                  -2-
                                  PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 10 of 33 Page ID #:586



    1   various styles. Id. at ¶¶ 34, 35, 39. For services like Pandora, comedians’ recordings
    2   are competitive alternatives to each other, and comedians compete to have Pandora
    3   stream their comedy, including by reaching out to Pandora to secure more plays of
    4   their comedy recordings. Id. at ¶¶ 35, 38, 77. In turn, Pandora pays millions of dollars
    5   in royalties each year for its use of those recordings. Id. at ¶¶ 2, 35.
    6         Since launching its comedy service in 2011, and pursuant to longstanding
    7   industry custom and practice (predating Pandora’s existence by many decades),
    8   Pandora has always obtained licenses for the comedy recordings that it offers.
    9   Counterclaims ¶¶ 40, 41. Through those licenses, Pandora has obtained all of the
   10   rights it needs to stream the recordings, on the understanding that any rights to the
   11   underlying jokes are provided along with the rights to the recordings. Id. at ¶¶ 41-43.
   12   Pandora’s publicly available SEC filings confirmed this longstanding licensing
   13   practice, explicitly noting that, pursuant to industry custom and practice, Pandora was
   14   not securing a separate license, or paying a separate license fee, for the use of any
   15   underlying jokes embodied in the recordings. Id. at ¶ 43. Nevertheless, despite
   16   Pandora’s complete transparency, until WC’s appearance no comedian ever
   17   challenged those licensing practices or approached Pandora about entering into a
   18   separate license, or paying additional royalties, for any rights that the comedian may
   19   hold in the underlying jokes. Id. at ¶¶ 2, 41, 43.2
   20         2. WC’s motion to dismiss says very little about how WC operates. But WC
   21   elsewhere has presented itself as “the ASCAP and BMI for spoken word instead of
   22   music.” Counterclaims ¶¶ 16, 44, 61. Those entities issue blanket licenses for all of
   23   the musical works performance rights in their vast repertories (see Broad. Music, Inc.
   24
        2
          WC’s discussion of this background is misleading. Pandora does not “concede that
   25   it did not secure licenses for the literary works embodied in the spoken word comedy
   26   routines that it streamed for over a decade.” Mot. 3. To the contrary, Pandora stated
        that it “has always taken licenses for the comedy recordings that it offers, and through
   27   those licenses has obtained (either explicitly or implicitly) all of the rights it needs to
   28   stream those recordings.” Counterclaims ¶ 41 (emphases added).
                                                    -3-
                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 11 of 33 Page ID #:587



    1   v. Columbia Broad. Sys., Inc., 441 U.S. 1, 5-6 (1979)), although, as is explained
    2   below and in the counterclaims, their licensing practices differ in material respects
    3   from those of WC. See Counterclaims ¶¶ 44, 47; pp. 14 & n.10, 21, infra.
    4         WC’s website describes a collective licensing scheme under which comedians
    5   (or the entities holding the rights to the comedians’ comedy routines) sign an
    6   “exclusive affiliation agreement” with WC. Counterclaims ¶ 51. That agreement
    7   makes WC “the only entity on the planet” authorized to grant licenses for the
    8   comedians’ “literary works” rights and to collect royalties for those rights. Id. ¶ 62.
    9   It gives WC power to set a single fixed price for access to all of these comedians’
   10   “literary-works” rights—rights that the comedians otherwise would offer in
   11   competition with each other. Id. at ¶¶ 51, 68.3 Once a comedian signs with WC, WC
   12   controls access to those rights—i.e., to the jokes used by the comedian in a recorded
   13   performance. See id. ¶¶ 53, 62, 68. Under this regime, individual licenses from WC’s
   14   client comedians—even if they were available—would be useless to Pandora and
   15   other services: WC licenses its comedians’ rights only through a blanket license
   16   covering its entire portfolio. Id. at ¶¶ 63, 65, 80, 82. Were it not for that joint
   17   arrangement, Pandora and other services would be able to obtain the rights to the
   18   comedy routines at competitive, and substantially lower, rates set by competition
   19   among the owners of those rights. Id.
   20         Because it must respond to listener demand in a competitive market, Pandora
   21   would not and could not respond to a sustained price increase for the rights to comedy
   22   routines embodied in comedy recordings by shifting its programming toward other
   23   recorded spoken-word content, such as poetry. Counterclaim ¶ 75. Similarly, Pandora
   24   would not and could not shift its programming further toward music in response to a
   25
        3
   26    Although WC insists that the blanket license would not require Pandora to pay for
        comedy that it does not want (Mot. 4 n.3), the key point is that there is a fixed price
   27   for everything in WC’s catalog, that price is set by WC (not individually by
   28   comedians), and there is no opportunity to get those rights anywhere but through WC.
                                                   -4-
                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 12 of 33 Page ID #:588



    1   sustained price increase for the rights to comedy routines; comedy programming
    2   satisfies consumer demand that is different from demand for music programming. Id.
    3   at ¶ 74. The result of WC’s anticompetitive scheme will be both higher prices and a
    4   reduced supply of comedy programming, possibly including the abandonment of
    5   comedy by streaming services. Id. ¶ 81.
    6         3. WC was launched and approached Pandora in 2020, offering to license the
    7   counterclaim-defendant comedians’ “literary works” (Counterclaims ¶¶ 49, 82); it
    8   sent Pandora a proposed licensing agreement in March 2021. Since WC’s launch, it
    9   has come to represent numerous prominent comedians. Id. at ¶¶ 50, 57-60. In March
   10   2022, the counterclaim-defendant comedians filed a complaint against Pandora—
   11   which was, on information and belief, coordinated and funded by WC (id. at ¶ 4)—
   12   alleging copyright infringement for use of the underlying jokes embodied in comedy
   13   recordings that Pandora had licensed. Pandora responded by asserting antitrust
   14   counterclaims against the counterclaim-defendant comedians and WC, alleging:
   15      The joint action of the counterclaim defendants constitutes price-fixing, in
   16       violation of Section 1 of the Sherman Act (Counterclaims ¶¶ 84-90);
   17      That joint action, by forcing Pandora to license WC’s entire portfolio, constitutes
   18       anticompetitive tying, also in violation of Section 1 (Counterclaims ¶¶ 91-95);
   19      By obtaining control of a critical mass of comedy routines, the counterclaim
   20       defendants achieved monopoly power, or a dangerous probability of achieving
   21       monopoly power, within the relevant market, in violation of Sherman Act
   22       Section 2; and conspired to achieve monopoly power (Counterclaims ¶¶ 96-
   23       108).
   24                         APPLICABLE LEGAL STANDARDS
   25         On a motion to dismiss, the complaint’s factual allegations are “taken as true[,]
   26   and construed in the light most favorable to Plaintiffs.” Moore, 966 F.3d at 1016.
   27   Such motions are denied when the pleading contains “sufficient factual matter,
   28   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
                                                    -5-
                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 13 of 33 Page ID #:589



    1   Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
    2   570 (2007)). In fact, a complaint “may proceed even if it strikes a savvy judge that
    3   actual proof of [the] facts is improbable, and that a recovery is very remote and
    4   unlikely.” Twombly, 550 U.S. at 556 (quotation cleaned). “[N]o special pleading rule
    5   require[es] greater factual specificity in antitrust cases.” Momento, Inc. v. Seccion
    6   Amarilla USA, 2009 WL 10696217, at *1 (N.D. Cal. Sept. 17, 2009); accord Newcal
    7   Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045 (9th Cir. 2008).
    8                                       ARGUMENT
    9   I.    Pandora May Challenge WC’s Anti-Competitive Conduct.
   10         A.     Pandora has Article III and antitrust standing.
   11         WC’s initial challenge is to Pandora’s standing. In the broadest sense, the
   12   parties agree on the standards that govern Article III and antitrust standing. The
   13   Article III requirements are familiar: constitutional standing exists if the plaintiff
   14   suffered an injury in fact that is fairly traceable to the challenged action and that
   15   likely would be redressed by a favorable decision. See Spokeo, Inc. v. Robins, 578
   16   U.S. 330, 337 (2016); In re Zappos, Inc., 888 F.3d 1020, 1024 (9th Cir. 2018). Insofar
   17   as is relevant here, antitrust standing is present when the plaintiff demonstrates
   18   “antitrust injury,” which turns on a showing of “(1) unlawful conduct, (2) causing an
   19   injury to [the plaintiff], (3) that flows from that which makes the conduct unlawful,
   20   and (4) that is of the type the antitrust laws were intended to prevent.” PLSCom LLC
   21   v. Nat’l Ass’n of Realtors, 32 F.4th 824, 833 (9th Cir. 2022) (citation and internal
   22   quotation marks omitted); see City of Oakland v. Oakland Raiders, 20 F.4th 441,
   23   455-56 (9th Cir. 2021); Mot. 7. Both forms of standing exist here.
   24         Article III standing is manifest. Pandora licenses comedy recordings for use in
   25   its streaming service. As the counterclaims allege, WC’s scheme centers on obtaining
   26   control over licenses needed by Pandora, which it will make available only on a price-
   27   fixed, blanket basis and on terms that preclude competition between comedians. This
   28   elimination of competition makes it substantially certain that Pandora will pay higher
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 14 of 33 Page ID #:590



    1   prices or will be forced to offer a degraded product. See p. 5, supra. That is concrete
    2   harm directly traceable to WC’s conduct.
    3         Antitrust standing is equally apparent. The wrongful conduct alleged is the
    4   accumulation of monopoly power and fixing of prices. For the reasons just stated,
    5   that conduct, and its unlawful elements in particular, is alleged to injure Pandora. Of
    6   course, conduct of just that sort is the central focus of the antitrust laws: “[I]t is
    7   difficult to imag[in]e a more typical example of anti-competitive effect than higher
    8   prices.” Am. Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781, 791 (9th Cir. 1996).
    9         For numerous reasons, WC is wrong to assert that, in this setting, Pandora has
   10   failed to allege “any injury-in-fact or causal antitrust injury.” Mot. 8.
   11         First, WC contends that Article IIII standing is absent because Pandora does
   12   not allege—at all—that it has licensed the comedians’ works or shown how WC’s
   13   pricing for those works is supracompetitive. Mot. 8. But this assertion simply ignores
   14   the allegations of the counterclaims. Pandora plausibly alleges that it has had a
   15   longstanding practice of licensing comedians’ recordings, including the underlying
   16   comedy routines. See p. 3, supra. Pandora also alleges that WC’s practices will make
   17   it necessary for Pandora to obtain additional licenses at increased prices, requiring it
   18   either to pay more or to stop offering comedy on its service, with an obvious adverse
   19   impact on its business. Id. As to the latter harm, WC itself notes that Pandora has
   20   already had to remove comedian content from Pandora’s services. Mot. 20 n.9. In
   21   either case, Pandora suffers injury directly traceable to WC’s challenged conduct.
   22   See, e.g., Intellectual Ventures I LLC v. Capital One Fin. Corp., 99 F. Supp.3d 610,
   23   629 (D. Md. 2015) (standing exists to assert antitrust counterclaims when challenged
   24   actions “hindered Counterclaimants’ business”).4
   25   4
          WC relies on Gerlinger v. Amazon.com Inc., 526 F.3d 1253 (9th Cir. 2008). See
   26   Mot. 8. But that case was decided on summary judgment, and turned on the plaintiff’s
   27   failure to rebut the defendant’s evidence that he did not pay supracompetitive prices.
        526 F.3d at 1256. Obviously, WC cannot benefit from that holding on a motion to
   28   dismiss. WC gets no more from its invocation of Eastman v. Quest Diagnostics Inc.,
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 15 of 33 Page ID #:591



    1         Second, WC asserts that the threatened harm must be, but is not, “certainly
    2   impending.” Mot. 8-9. But this, too, is incorrect. At least where a plaintiff seeks
    3   prospective relief (as does Pandora), “[a]n allegation of future injury may suffice if
    4   the threatened injury is certainly impending, or there is a substantial risk that the
    5   harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)
    6   (quotation cleaned) (emphasis added). A plaintiff satisfies this requirement by
    7   adducing “evidence of a credible threat” of harm. Ass’n of Irritated Residents v. EPA,
    8   10 F.4th 937, 943 (9th Cir. 2021); accord, e.g., Susan B. Anthony List, 573 U.S. at
    9   158-161; Zappos.com, 888 F.3d at 1025-1027. And such a threat exists where, as
   10   here, WC has locked up numerous comedians, in a manner that precludes those
   11   comedians from negotiating competitive arrangements.5
   12         Third, WC is wrong when it asserts that a plaintiff that has been priced out of
   13   the market by monopolistic behavior (as Pandora might be by WC) lacks antitrust
   14   standing. Mot. 10. WC relies for this proposition on City of Oakland—but it
   15   disregards the analysis actually offered by the Ninth Circuit in that decision. The
   16   court there explained that a claim of failure to purchase may be too speculative to
   17   support standing when the plaintiff “has no prior course of dealing with any
   18   defendant” and “[t]he [plaintiff] has not alleged—and there is no way of knowing—
   19
        108 F. Supp. 3d 827, 831 (N.D. Cal. 2015), where the defendant argued that plaintiffs
   20   had not alleged conduct having an impact on the amount paid for defendant’s
   21   services. Here, in contrast, Pandora alleges that WC’s conduct will increase the
        amount paid or degrade the product offered by Pandora.
   22
        5
         WC gets no support from McCray v. Fidelity National Title Ins., 682 F.3d 229, 243
   23   (3d Cir. 2012) (cited at Mot. 8-9). That decision predated Susan B. Anthony List and
   24   Association of Irritated Residents, which clarify that a credible threat of harm
        establishes standing. Moreover, in McCray the complaint did not reveal “plans to
   25   purchase” the insurance that was the subject of the alleged price-fixing, while rates
   26   for that insurance had not been changed for years. 682 F.3d at 243-44. Here, in
        contrast, Pandora is a long-time purchaser of comedians’ product; WC is raising
   27   prices (see pp. 20-21, infra); and, as WC itself asserts, Pandora has removed from its
   28   service some comedy content in response to WC’s actions. See Mot. 20 n.9.
                                                  -8-
                                  PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 16 of 33 Page ID #:592



    1   what would have occurred in a more competitive marketplace.” 220 F.4th at 458-59
    2   (cleaned up). But here, those circumstances are decisively different. Pandora has a
    3   long course of dealing with comedians and a history of securing the necessary rights
    4   to stream recorded comedy; and that history of dealing tells us exactly what would
    5   happen in a competitive marketplace. There is nothing speculative here.6
    6         Fourth, Pandora does not allege, as WC would have it, that “the mere
    7   allegation that a copyright holder has demanded more than a potential licensee
    8   unilaterally perceived as ‘historic custom’ [is] sufficient to state an antitrust claim.”
    9   Mot. 11. The violation here is not any comedian’s unilateral request for higher
   10   payment, but WC’s scheme to lock up the works of numerous otherwise competing
   11   comedians, whose prices it then jointly fixes. That is a paradigmatic antitrust
   12   violation.
   13         Finally, WC is wrong when it contends that litigation costs categorically may
   14   not be used to establish standing. Mot. 12-13. Courts widely agree that, although
   15   antitrust “liability cannot be predicated on petitioning activity,” “if a defendant
   16   engages in anticompetitive conduct which does not constitute petitioning activity, it
   17   cannot immunize itself from liability for litigation-related damages if it asserts or
   18   tries to assert its unwarranted accumulation of market power through litigation.” Intel
   19   Corp. v. Fortress Invests. Grp. LLC, 2020 WL 6390499, at *16 (N.D. Cal. July 15,
   20
        6
          WC is wrong when it contends that the victim of a price-fixing conspiracy lacks
   21   standing to sue as a matter of law unless it first enters into a contract to purchase from
   22   the defendant at the fixed price. See Mot. 9; but see, e.g., Intellectual Ventures I, 99
        F. Supp.3d at 628 (standing exists where antitrust counterclaimant was put “‘to an
   23   anticompetitive choice between paying a monopoly price, exiting the . . . industry,
   24   and paying millions of dollars in litigation costs’”). WC cites for its argument a single
        footnote in Edwards Vacuum, LLC v. Hoffman Instrumentation Supply, Inc., 556 F.
   25   Supp. 3d 1156, 1170 n.8 (D. Or. 2021). But the court was there addressing claims for
   26   money damages, not for injunctive relief. In any event, if the Edwards court meant
        that “an unaccepted offer [c]ould not be the ‘cause’ of any material result in the
   27   marketplace,” it was incorrect; a monopolistic increase in prices could well cause the
   28   victim to leave the market, as could happen to Pandora.
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                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 17 of 33 Page ID #:593



    1   2020) (emphasis added), appealed on other grounds, No. 21-16817 (9th Cir. Oct. 28,
    2   2021). It follows that such litigation-related damages, like any other damages
    3   proximately caused by a violation, may establish standing. Id. at *15-16 (citing
    4   cases).
    5         B.     Noerr-Pennington has no bearing on Pandora’s counterclaims.
    6         WC also errs when it invokes the Noerr-Pennington doctrine to retroactively
    7   immunize its anticompetitive behavior. Mot. 13-15. That doctrine protects the right
    8   to petition the government for redress—but the right to petition is not at issue here.
    9         Pandora’s counterclaims are not directed at the comedians’ copyright
   10   infringement suits; the comedians are free to advance whatever claims they think
   11   have merit. What they may not do is agree on their price demands—and then obtain
   12   immunity for that anticompetitive conduct by jointly bringing copyright claims that
   13   effectuate their agreement. See Counterclaims ¶¶ 3-6, 30, 42, 48, 52, 62-67, 85-86.7
   14         Under WC’s contrary view of Noerr-Pennington, once members of a cartel
   15   allege copyright infringement, price-fixing that eventually is effectuated through
   16   invocation of copyright rules is fully immunized, even retroactively, from the
   17   antitrust laws. But that is not the law. Time and again, courts have made clear that
   18   “[t]he mere existence of a lawsuit does not retroactively immunize prior anti-
   19   competitive conduct.” Amphastar Pharm. Inc. v. Momenta Pharms., Inc., 850 F.3d
   20   52, 57 (1st Cir. 2017); accord, e.g., Abbott Labs. v. Teva Pharms. USA, Inc., 432 F.
   21   Supp. 2d 408, 429 (D. Del. 2006) (“[A]n unlawful agreement or an unlawful overall
   22   scheme do[es] not become lawful because [it] may be enforced by immunized
   23   litigation.”) (internal citations omitted).
   24
   25   7
          Presenting an incomplete and highly misleading excerpt from Pandora’s Prayer for
   26   Relief, WC asserts that the counterclaims “are a naked attempt to chill the
        Comedians’ copyright infringement claims.” Mot. 14. In fact, Pandora seeks to enjoin
   27   those claims only “until such time as the effects of the anticompetitive conduct
   28   described herein have dissipated.” Counterclaims, Prayer for Relief (e).
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                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 18 of 33 Page ID #:594



    1         Nor may WC recast its anticompetitive activities as “conduct incidental to the
    2   prosecution of the suit.” Mot. 14 (quoting Sosa v. DirecTV, Inc., 437 F.3d 923, 935
    3   (9th Cir. 2006)). Incidental conduct involves acts that are closely bound up with
    4   legitimate litigation itself, such as settlement offers. Sosa, 437 F.3d at 934-35. There
    5   is nothing “incidental” about WC’s actions to seek out, obtain, and aggregate
    6   exclusive licensing arrangements with comedians over the course of several years
    7   (thus preventing those comedians from dealing with Pandora individually), set a
    8   fixed blanket licensing fee, and then demand that Pandora take the blanket license—
    9   all of which occurred long before litigation was even in view. See Compl. ¶¶ 27, 42,
   10   56, 70, 84, 99 (ECF No. 19); Counterclaims ¶¶ 3-6, 30, 42, 48, 52, 62-67, 85-86.
   11         WC’s anticompetitive actions exist independent of, not incidental to, the
   12   comedians’ lawsuits. And when a party “engages in anticompetitive conduct which
   13   does not constitute petitioning activity”—“such as aggregation of patents”—“it
   14   cannot immunize itself from liability for litigation-related damages if it asserts or
   15   tries to assert its unwarranted accumulation of market power through litigation.” Intel
   16   Corp., 2020 WL 6390499, at *15-16. Likewise, “copyright holders may not agree to
   17   limit their individual freedom of action in licensing future rights to such an infringer
   18   before, during, or after the lawsuit.” PrimeTime 24 Joint Venture v. Nat’l Broad. Co.,
   19   219 F.3d 92, 98-103 (2d Cir. 2000) (cited with approval in Sosa) (rejecting the
   20   argument that Noerr-Pennington precluded liability where defendants filed lawsuits
   21   after improperly agreeing not to deal with plaintiff).
   22         Finally, WC places far more weight on Apple v. Motorola Mobility, Inc., 886
   23   F. Supp. 2d 1061 (W.D. Wisc. 2021), than that decision can bear. Mot. 15. There, the
   24   court found on summary judgment that Apple had “produced no evidence or
   25   argument” that Motorola’s anticompetitive activities harmed it (id. at 1076); here,
   26   Pandora has plausibly alleged a host of non-litigation harms caused by WC’s
   27   anticompetitive scheme. See Counterclaims ¶¶ 83, 87; see also No Spill, LLC v.
   28   Scepter Canada, Inc., 2021 WL 3856619, at *4 (D. Kan. Aug. 30, 2021)
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 19 of 33 Page ID #:595



    1   (distinguishing Apple where, as here, the counterclaim plaintiff pleaded that it “was
    2   financially burdened” by “the presence of [the] anticompetitive scheme”). Those
    3   harms, which are independent of the comedians’ copyright claims, make Noerr-
    4   Pennington inapplicable.
    5   II.   Pandora Has Pleaded Plausible Antitrust Claims.
    6         When it comes to the substance of Pandora’s claims, WC misstates the law
    7   and improperly disputes the counterclaim allegations.
    8         A.     Pandora was not required to engage in a futile act by trying to break
    9                the WC cartel.

   10         WC is wrong to contend that its pooling of rights could not be an antitrust
   11   violation unless Pandora first sought individual licenses from the comedians (beyond
   12   the licenses Pandora already has). Mot. 15-16. Pooling arrangements typically will
   13   be subject to antitrust scrutiny when there is no “realistic opportunity as a practical
   14   matter to obtain individual licenses from individual owners as opposed to a single
   15   license from the pool.” Samsung Elecs. Co., Ltd., v. Panasonic Corp., 2015 WL
   16   10890655, at *5 (N.D. Cal. Sep. 30, 2015). And here, WC eliminated any realistic
   17   opportunity to obtain individual licenses when its comedians signed required
   18   “exclusive affiliation agreement[s]” that contracted away their right to license
   19   independently. Counterclaims ¶¶ 51-53, 61-65. Indeed, WC itself has trumpeted that
   20   it is “the only entity on the planet where these services [like Pandora] can come and
   21   get a license to use [its comedians’] literary works.” Id. at ¶ 62; accord, e.g., id. at
   22   ¶ 63 (WC’s website: “Digital radio and AM/FM radio either have to pay for all
   23   broadcasts of comedy and other spoken word performances or choose to broadcast
   24   none of it.”). Although WC now says that Pandora acknowledged its ability to “deal
   25   individually with comedians to separately license literary works” (Mot. 16
   26   (discussing Counterclaims ¶ 46)), that contention is ridiculous; Pandora was
   27   addressing licensing in a competitive marketplace, not one in which comedians have
   28   signed away their rights through “exclusive affiliation agreements” with the WC
                                                  -12-
                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 20 of 33 Page ID #:596



    1   cartel. Compare Counterclaims ¶ 46 (competitive marketplace), with id. at ¶¶ 51, 53,
    2   60-62 (discussing marketplace with WC’s exclusive affiliation agreements).8
    3         Moreover, even if individual licenses were available from some WC
    4   comedians, those licenses would not be a substitute for the blanket license—which
    5   WC would still require. Given that requirement, any such individual license would
    6   be superfluous, and result only in Pandora paying multiple times for the same rights.
    7   Id. at ¶ 52. On a motion to dismiss, Pandora’s allegation of the lack of any reasonable
    8   alternative to the blanket license must be taken as true.
    9         WC’s contention that Pandora was obligated to seek individual licenses is
   10   wrong for another reason, too. The availability of individual licenses, even if realistic,
   11   does not preclude imposing liability on “competing sellers [who are] fix[ing] the
   12   prices of their products.” Columbia Broadcasting, 620 F.2d at 935. Fixing prices
   13   “violate[s] § 1 no matter how much a buyer may prefer accepting the[] [sellers’] fixed
   14   price to negotiating with each for a lower price.” Id. Tellingly, many of the cases on
   15   which WC relies involved the aggregation of complementary rights, where
   16   anticompetitive harms are of less concern than with the pooling of competitors’
   17   rights. See, e.g., Nero AG v. MPEG LA, LLC, 2010 WL 4366448 (C.D. Cal. Sep. 14,
   18   2010); Sumitomo Mitsubishi Silicon Corp. v. MEMC Elec. Materials, Inc. 2007 WL
   19   2318903 (N.D. Cal. Aug. 13, 2007).9 Here, in contrast, “comedians’ recordings are
   20
        8
         As for WC’s assertion that it would entertain “individual licenses on behalf of its
   21   clients” (Mot. 16 n.6), the whole point of individual licensing is to have a competitive
   22   alternative that is independent of the collective: The individual owners of the right—
        here, the comedians—are the ones that must offer the alternative in the marketplace.
   23   See, e.g., Samsung, 2015 WL 10890655, at *5 (discussing licenses “from individual
   24   owners”); Columbia Broad. Sys. v Am. Soc’y of Composers, Authors & Publishers,
        620 F.2d 930, 936-37 (2d Cir. 1980) (recognizing that individual licensing
   25   opportunity must be “fully available” from “copyright owners [who] retain
   26   unimpaired independence to set competitive prices for individual licenses”).
        9
   27    See also, e.g., U.S. Department of Justice June 26, 1997 Response to Business
        Review Letter to Trustees of Columbia University, et al., at 9, available at
   28   https://www.justice.gov/sites/default/files/atr/legacy/2006/10/17/215742.pdf (“[A]
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                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 21 of 33 Page ID #:597



    1   competitive alternatives to each other.” Counterclaims ¶ 35.
    2         For all of these reasons, the decisions relied upon by WC are inapposite. In
    3   Nero, for instance, DOJ’s Antitrust Division expressly conditioned its decision not
    4   to challenge a patent pool on certain “safeguards,” among them that the pool must
    5   inform licensees about the availability of individual licenses from the individual
    6   owners. 2010 WL 4366448, at *1-2.10 Here, on the other hand, the comedians gave
    7   up their rights to individually license their works by joining the WC cartel
    8   (Counterclaims ¶¶ 51-53, 61-65), and WC has made clear that it will issue only a
    9   blanket license, id. at ¶¶ 62-67. Moreover, Nero concerned a patent pool of
   10   complementary IP rights, which differ from the competing rights that WC is
   11   aggregating. Id. at ¶¶ 4, 88. 11 Consequently, nothing here shields WC from liability.
   12
        patent pool that aggregates competitive technologies and sets a single price for them
   13
        would raise serious competitive concerns. On the other hand, a combination of
   14   complementary intellectual property rights . . . can be an efficient and procompetitive
        method of disseminating those rights to would-be users.”).
   15
        10
          Although WC relies on decisions involving ASCAP and BMI (Mot. 16), those
   16   organizations’ consent decrees likewise impose “safeguards,” including that: they are
   17   prohibited from obtaining exclusive licensing rights from their affiliates; they are
        required to offer realistic alternatives to their blanket licenses; and a federal court is
   18   empowered to set reasonable fees when agreement cannot be reached with a licensee.
   19   Meredith Corp. v. SESAC LLC, 1 F. Supp. 3d 180, 185 (S.D.N.Y. 2014). No such
        safeguards limit WC.
   20
        11
           Similarly, Sumitomo, 2007 WL 2318903, at *16, involved an opportunity to license
   21   from individual owners that is not available in this case. See Samsung, 2015 WL
   22   10890655, at *6 (distinguishing Sumitomo on the ground that “the plaintiffs [there]
        had failed to avail themselves of opportunities presented to them for independent
   23   licensing of the patent rights from the individual owners”). Here, as in Samsung,
   24   individual comedians have not presented independent licensing offers; their
        affiliation agreements with WC foreclose them from doing so. Id. at *6 (holding that
   25   the Samsung complaint “plausibly pleads that Defendants denied Samsung a realistic
   26   opportunity as a practical matter to negotiate individual licenses,” given that the
        relevant patent pool agreement contained “no provision permitting separate
   27   licenses,” no member “had indicated a willingness to negotiate a separate license,”
   28   and all appeared to lack the authority to individually license).
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                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 22 of 33 Page ID #:598



    1         B.     Pandora adequately alleges Section 2 claims.
    2         Pandora brings two claims under Section 2 of the Sherman Act—Count III
    3   (monopolization or attempted monopolization) and Count IV (conspiracy to
    4   monopolize). To state a monopolization claim, Pandora need only allege facts
    5   plausibly showing “(i) the possession of monopoly power in the relevant market;
    6   (ii) the willful acquisition or maintenance of that power; and (iii) causal antitrust
    7   injury.” In re Nat’l Football League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136,
    8   1159 (9th Cir. 2019). For attempted monopolization, Pandora must show that (i) WC
    9   engaged in predatory or anticompetitive conduct; (ii) with a specific intent to
   10   monopolize; and (iii) a dangerous probability of achieving monopoly power.
   11   Coalition for ICANN Transparency, Inc. v. VeriSign, Inc., 611 F.3d 495, 506 (9th
   12   Cir. 2010). Finally, to state a conspiracy-to-monopolize claim, Pandora must plead
   13   (i) the existence of a combination or conspiracy to monopolize; (ii) an overt act in
   14   furtherance of the conspiracy; (iii) specific intent to monopolize; and (iv) causal
   15   antitrust injury. Sunday Ticket, 933 F.3d at 1159.
   16         Pandora easily meets all of these requirements. See Counterclaims ¶¶ 2-7, 30-
   17   63, 71-83, 96-101 (monopolization and attempted monopolization); id. at ¶¶ 2-7, 30-
   18   64, 68-69, 77, 81-83, 102-108 (conspiracy to monopolize). The only Section 2-
   19   specific arguments WC makes concern relevant market and market power—both of
   20   which turn largely on matters of fact inappropriate for resolution at the pleading
   21   stage. E.g., Newcal, 513 F.3d at 1045, 1051. And WC’s arguments are, in any event,
   22   unavailing on their own terms.
   23         Relevant Market. WC insists that Pandora has not sufficiently alleged a
   24   relevant market. See Mot. 17-19. But that is a low bar at this stage. There is, for
   25   instance, “no requirement that [a relevant market] be pled with specificity.” Newcal,
   26   513 F.3d at 1045; Blizzard Entm’t Inc. v. Ceiling Fan Software LLC, 941 F. Supp. 2d
   27   1227, 1232 (C.D. Cal. 2013). “An antitrust complaint therefore survives a Rule
   28   12(b)(6) motion unless it is apparent from the face of the complaint that the alleged
                                                 -15-
                                  PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 23 of 33 Page ID #:599



    1   market suffers a fatal legal defect.” Newcal, 513 F.3d at 1045. The operative standard
    2   requires an identification of “the group or groups of sellers or producers who have
    3   actual or potential ability to deprive each other of significant levels of business.” Id.
    4   (internal citations omitted). Pandora’s allegations easily pass that test.12
    5         Although Pandora does not use the particular buzzwords that WC prefers (see
    6   Mot. 18), Pandora discusses the contours of the market—what is in, what is out, and
    7   why. That is all that is required.13 Pandora identifies the relevant geographic and
    8   product market as “the U.S. market for the rights to comedy routines embodied in
    9   comedy recordings.” Counterclaims ¶ 71. It explains that is so because of the medium
   10   in which it offers customers streaming comedy content (id. at ¶ 72) and the demands
   11   of its comedy-seeking customers, id. at ¶ 73-75. Pandora also alleges that there is a
   12   low degree of cross-elasticity of demand between comedy recordings and other audio
   13   and audio/visual material. Id. at ¶¶ 72-75. That is a “plausible” limit on the relevant
   14   market. TYR, 679 F. Supp. 2d at 1130-31 (discussing Twombly and Iqbal standard).
   15   A Pandora user surely does not view listening to poetry or music as a substitute for
   16   listening to comedy, and WC never suggests otherwise.
   17         Such distinctions are far less nuanced than those in other cases that have met
   18   the relevant-market threshold. See, e.g., TYR, 679 F. Supp. at 1129 (accepting market
   19   of “high-end competitive swimwear” and holding that “it seems plausible that
   20   competitive swimmers would not switch to casual swimsuits simply because of a
   21
   22   12
          Pleading a relevant market is necessary only for rule-of-reason Section 1 claims,
   23   not the per se anticompetitive behavior here. E.g., Staley v. Gilead Scis., 446 F. Supp.
        3d 578, 616 (N.D. Cal. 2020); Big Bear Lodging Ass’n v. Snow Summit, Inc., 182
   24
        F.3d 1096, 1105 (9th Cir. 1999).
   25   13
          See, e.g., TYR Sport Inc. v. Warnaco Swimwear Inc., 679 F. Supp. 2d 1120, 1129-
   26   30 (C.D. Cal. 2009) (rejecting argument that the “market definition is legally
        insufficient at the pleading stage” because it does not call out in so many words
   27   “interchangeability or cross-elasticity of demand”); accord Datel Holdings Ltd. v.
   28   Microsoft Corp., 712 F. Supp. 2d 974, 996 (N.D. Cal. 2010).
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                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 24 of 33 Page ID #:600



    1   price increase in high-end swimwear”); Blizzard, 941 F. Supp. 2d at 1230 (accepting
    2   relevant market of “the aftermarket for add-on hardware and software specific to [a
    3   game] that enables [] players to advance their character levels at a faster-than-normal
    4   rate”). For its part, WC relies on cases that concerned narrowly defined markets that
    5   were facially implausible. See Mot. 17-18 (citing Honey Bum, LLC v. Fashion Nova,
    6   Inc., 2021 WL 4205618, at *6 (C.D. Cal. Mar. 26, 2021) (involving an alleged “Los
    7   Angeles-sourced fast fashion online clothing retail market”); Hicks v. PGA Tour,
    8   Inc., 897 F.3d 1109, 1121 (9th Cir. 2018) (involving proposed submarket of ads
    9   airing “between commercial breaks” “during professional golf tournaments”)).
   10         Finally, Pandora does not, as WC would have it, treat desirable and undesirable
   11   comedy as separate product markets. Mot. 18 (discussing Counterclaims ¶¶ 38, 66,
   12   93). Pandora simply alleges that its business requires it “to assemble a critical mass
   13   of [] comedy recordings,” and that it chooses the particular comedians and recordings
   14   it offers based on factors such as “price, quality, and desirability to listeners.”
   15   Counterclaims ¶ 38. At no point does Pandora refer to “desired comedy recordings”
   16   and “less desirable material” as separate product markets for purposes of its tying
   17   claim (or any other claim). Contra Mot. 18.
   18         Market Power. Pandora alleges in detail the ways in which WC has market
   19   power—i.e., the power “to raise price and restrict output.” Eastman Kodak Co. v.
   20   Image Tech. Servs., Inc., 504 U.S. 451, 464 (1992) (cleaned up). Market power “is
   21   simply a way to assess whether the defendant’s conduct has anticompetitive effects,”
   22   Staley, 446 F. Supp. 3d at 616, and can be shown by either “direct” or “indirect”
   23   evidence. Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995).
   24   “The question of whether, and if so in what market, [the defendant] has monopoly
   25   power is complex, nuanced, and fact dependent.” CollegeNET v. The Common
   26   Application, Inc., 711 F. App’x 405, 407 (9th Cir. 2017). Pandora plausibly alleges
   27   market power here.
   28         Pandora explains how WC orchestrated a cartel to make itself the exclusive
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 25 of 33 Page ID #:601



    1   licensor for rights to comedy routines of a critical mass of iconic comedians (and
    2   others), which gives it the power to demand exorbitant prices through an “all or
    3   nothing” blanket license. Counterclaims ¶¶ 56-62. WC thus “has given Pandora the
    4   Hobson’s choice between the price-fixed and economically unviable bundle—its
    5   blanket license—and litigation.” Id. ¶82. That is “the actual exercise of market
    6   power.” Rebel Oil, 51 F.3d at 1434.
    7         In addition, Pandora alleges an increase in price—well above that paid under
    8   longstanding practice where comedians received royalties pursuant to licenses for
    9   their recorded comedy routines with no additional royalties paid for the underlying
   10   jokes. Counterclaims ¶¶ 41-43, 68. As Pandora further alleges, the comedians’ own
   11   actions demonstrated that they were satisfied with the compensation they were
   12   receiving under that practice. Id. at ¶¶ 2, 35, 41. WC’s actions changed that dynamic
   13   by imposing a 25% royalty increase on Pandora. See, e.g., id. at ¶ 68 (“[Word
   14   Collections] only wants to add a substantial additional royalty obligation to force
   15   Pandora and other services to pay far more than they historically have.”); Dkt. 49-5,
   16   Ex. C to Moskowitz Decl. at 11, § 2 (imposing 25% increase). That supracompetitive
   17   price, too, is direct evidence of market power. See Rebel Oil, 51 F.3d at 1434.14
   18         Pandora likewise shows that it might have to abandon comedy altogether if
   19   WC succeeds—a classic induced reduction in output. As Pandora alleges, WC’s
   20   objective is “to force Pandora and other services to take and pay for its entire
   21   portfolio—at a price that it alone will set—or to get none of it, and have no choice
   22   but to drop its comedy offering entirely.” Counterclaims ¶ 80; see id. at ¶ 63. This is
   23   not a speculative danger: WC says that Pandora already has had to remove “each
   24   Comedian’s catalogue from all of Pandora’s services.” Mot. 20 n.9. Such a forced
   25
        14
   26     See Anderson v. Boyne USA, Inc., 2022 WL 2528242, at *6 (D. Mont. July 7, 2022)
        (allegations permitting court to draw the reasonable inference that rates subject to
   27   anticompetitive conduct were 25% higher than comparable rates sufficient for
   28   antitrust claims to survive motion to dismiss).
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 26 of 33 Page ID #:602



    1   reduction in output is a hallmark of market power. See Las Vegas Sun v. Adelson,
    2   2022 WL 876937, at *9 (D. Nev. Mar. 23, 2022) (“Given that RJ alleges that LVS’s
    3   anticompetitive behavior reduced the quality of the paper and reduction of quality is
    4   direct evidence of anticompetitive effects, the Court finds that RJ plausibly alleges
    5   market power for purposes of its Sherman Act claims.”).
    6         WC asserts that failure to demonstrate its “market share” dooms Pandora’s
    7   counterclaims. Mot. 19-20. Not so. Courts analyzing antitrust claims against PROs
    8   recognize that proof of market share may not be necessary. See Meredith, 2011 WL
    9   856266, at *3-4 & n.6 (denying motion to dismiss antitrust claims notwithstanding
   10   that plaintiffs “never actually identify what percentage of all copyrighted musical
   11   compositions are in the SESAC repertory”). “[C]ommercial realities” are critical in
   12   antitrust cases. High Tech. Careers v. San Jose Mercury News, 996 F.2d 987, 990
   13   (9th Cir. 1993). Here, the commercial realities are that WC is aggregating licensing
   14   rights to a critical mass of iconic and other comedians that together constitute a “must
   15   have” collection—without which Pandora could not have a viable comedy offering.
   16   See Counterclaims ¶¶ 57-60. WC labels itself “the ASCAP and BMI for spoken
   17   word” (id. at ¶ 61) and, just as those two PROs each have market power, so does WC.
   18         WC also asserts that there can be no market power because there are no
   19   “barriers to entry.” Mot. 21. But if WC means by this that additional comedian PROs
   20   might enter the market, that would hardly improve matters for Pandora and other
   21   consumers of comedy. As is true of ASCAP and BMI, for Pandora and other users
   22   of comedy, those new PROs would be complements, not competitors, to WC. See,
   23   e.g., Meredith, 1 F. Supp. 3d at 188-89 (explaining that ASCAP and BMI “have
   24   repertories of copyrighted music that are exclusive of one another” and that licensees
   25   take licenses from both PROs); see also Pandora’s Opp. to WC’s Request for Judicial
   26   Notice 5 (Aug. 5, 2022). Once WC has locked up a critical mass of comedians, it has
   27   market power, notwithstanding the hypothetical emergence of other PROs. See
   28   Counterclaims ¶¶ 51, 53, 60-62; Image Tech. Servs., Inc. v. Eastman Kodak Co., 125
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 27 of 33 Page ID #:603



    1   F.3d 1195, 1208 (9th Cir. 1997) (intellectual property is a “common entry
    2   barrier[]”).15
    3          C.        Pandora adequately alleges Section 1 claims.
    4          Antitrust conspiracy. To state a Section 1 claim, Pandora need only plausibly
    5   allege: (i) an agreement among two or more parties; (ii) that is intended to restrain
    6   trade; and (iii) that injures competition. ICANN Transparency, 611 F.3d at 501-02.
    7   Some types of agreements are per se Section 1 violations because they “almost
    8   always tend to restrict competition and decrease output.” In re Musical Instruments
    9   & Equip. Antitrust Litig., 798 F.3d 1186, 1191 (9th Cir. 2015). Other agreements
   10   must be judged under the “rule of reason,” in which their harm to competition is
   11   weighed against any procompetitive benefits. Id. at 1191-92.
   12          The horizontal price-fixing conspiracy Pandora alleges here falls within the
   13   per se rule. Competitor comedians, through WC, agreed to: (i) fix a supracompetitive
   14   price for their collective set of rights; (ii) license their works exclusively on a
   15   collective basis; (iii) eliminate even the possibility of competition between
   16   themselves, including by foreclosing the possibility of licensing outside of their
   17   cartel; and (iv) upend historic custom and practice and license their comedy routines
   18   separately from the licensing of the sound recordings in which those routines are
   19   embedded. Counterclaims ¶¶ 2, 4, 35, 48, 51-54, 60-69, 77, 79-80, 82, 85-87, 92.
   20   This scheme, by design, eliminates competition between comedians to have their
   21   works included on Pandora’s services, so as to raise prices and reduce output. Id.
   22
        15
          For this reason, WC is wrong when it points to Spoken Giants—another newly
   23   minted spoken-word licensing collective—as somehow negating WC’s market
   24   power. Mot. 20 n.8. Just as the existence of BMI does not provide an alternative to
        ASCAP, the existence of Spoken Giants does not lessen WC’s market power. Any
   25   factual debate about this should be saved for trial. See generally CollegeNet, Inc. v.
   26   The Common Application, Inc., 355 F. Supp. 3d 926, 959 (D. Or. 2018) (“[T]he mere
        fact that a competitor entered the market does not defeat Plaintiff’s allegations that
   27   barriers to entry are high at this stage in the litigation. Whether the entry of the
   28   Coalition is sufficient to defeat this claim is a factual question.”).
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                                     PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 28 of 33 Page ID #:604



    1   That is textbook horizontal price-fixing, a “classic example[]” of the sort of
    2   agreement that “always or almost always tend[s] to restrict competition and decrease
    3   output.” Musical Instruments, 798 F.3d at 1191 (internal citations omitted).16
    4         In the face of these allegations, WC asserts that the counterclaims “fail[] to
    5   allege any agreement or meeting of the minds to unreasonably restrain trade.” Mot.
    6   22. But as the counterclaims detail and as WC itself declares, WC’s very purpose is
    7   to license collectively on behalf of many otherwise competing comedians. E.g.,
    8   Counterclaims ¶¶ 4, 49, 51-52, 61-63. WC’s argument is all the more perplexing in
    9   the face of WC’s self-proclaimed parallel to ASCAP and BMI. Id. at ¶ 61. It has long
   10   been settled that collective licensing like that engaged in by those entities “plainly
   11   involve[s] concerted action.” BMI, 441 U.S. at 10; see also Meredith, 1 F. Supp. 3d
   12   at 208-09 (relying, in part, on blanket-licensing practices to deny SESAC’s motion
   13   for summary judgment on its claim that there was no evidence of an agreement
   14   between SESAC’s affiliates). That observation applies with equal force to WC—an
   15   entity that, while modeling its licensing practices on those of ASCAP and BMI, lacks
   16   their arguable efficiencies and the restrictions imposed on them by their respective
   17   consent decrees. Counterclaims ¶¶ 44-48, 61-63.
   18         WC also is wrong to assert that the counterclaims “do not contain the requisite
   19   factual allegations” to support claims of a horizontal price-fixing conspiracy. Mot.
   20   22. The counterclaims are replete with such allegations,17 which “go well beyond
   21
        16
   22     If the Court were nevertheless to evaluate this conspiracy under the rule of reason,
        the additional elements necessary—market power and anticompetitive effects—are
   23   easily satisfied here. See pp. 7-10, 17-19, supra.
   24   17
           These include allegations that: (i) describe the licensing tactics of WC and its co-
   25   conspirator comedians (Counterclaims ¶¶ 4, 30, 49-67); (ii) describe how those
        licensing tactics are even more harmful to competition than those employed by
   26   ASCAP and BMI (id. at ¶¶ 44-48, 51-54); (iii) explain that comedians compete to
   27   have Pandora and others stream their content (id. at ¶¶ 35, 37); (iv) describe how
        WC’s “exclusive affiliation agreements” foreclose even the possibility of price
   28   competition by comedians (id. at ¶¶ 51-54, 65); (v) describe the impact that
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 29 of 33 Page ID #:605



    1   reciting the elements of a claim” and, thus, are more than sufficient to withstand a
    2   motion to dismiss. Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011); see also Order,
    3   Radio Music, No. 2:19-cv-03957, ECF No. 201 (denying a motion to dismiss per se
    4   and rule-of-reason Section 1 and Section 2 claims based on allegations of collective
    5   licensing); Meredith, 2011 WL 856266, at *3-4 (same).
    6         WC nevertheless contends that the “more accurate and plausible reading of the
    7   Counterclaims is that each Comedian unilaterally decided to license its literary works
    8   through Word Collections and allowed Word Collections to negotiate on its behalf
    9   without any understanding or agreement whatsoever with any other Comedian.” Mot.
   10   23. But that assertion is not plausible, particularly in light of WC’s very public
   11   intention to act as the “ASCAP and BMI of spoken word.” Counterclaims ¶¶ 16, 44,
   12   61. In any case, WC’s reading is at odds with Pandora’s factual allegations (see n.18,
   13   infra). Even where “there are two alternative explanations, one advanced by
   14   defendant and the other advanced by plaintiff, both of which are plausible, plaintiff’s
   15   complaint survives a motion to dismiss.” Starr, 652 F.3d at 1216.
   16         Finally, WC asserts that its relationship with its comedian clients is that of a
   17   “principal and agent,” and thus “cannot be the basis of a conspiracy claim.” Mot. 23.
   18   That, too, is wrong.
   19         For one thing, the counterclaims allege that WC is not a mere agent of the
   20
   21   competition between comedians would have on price were it to take place (id. at
   22   ¶¶ 35, 41-43, 68); (vi) detail when individual comedians signed on to the WC cartel
        and how the number of cartel member comedians has grown steadily over time (id.
   23   at ¶¶ 49, 56-59); (vii) explain how WC has been empowered to set a single fixed
   24   price for all of the works of its cartel members (id. at ¶¶ 4, 51-53, 61-65);
        (viii) explain that it is implausible that individual comedians were not aware of WC’s
   25   scheme, particularly given the public statements made by WC and its founder, and
   26   that by affiliating with WC, they are necessarily buying into the price-fixing
        conspiracy (id. at ¶¶ 61-65); and (ix) explain how this conspiracy works as a business
   27   matter only if there is a critical mass of comedians agreeing to band together to
   28   collectively license their works at a fixed price (id. at ¶¶ 38-39, 55-66).
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 30 of 33 Page ID #:606



    1   comedians—it is the facilitator of a horizontal price-fixing conspiracy between and
    2   among its affiliated comedians. E.g., Counterclaims ¶¶ 4, 44, 51-54, 61-65. The role
    3   WC plays in this price-fixing conspiracy is akin to that played by Apple when it
    4   organized “a price‐fixing conspiracy among” major book publishers—one the
    5   Second Circuit concluded was a per se Section 1 violation. United States v. Apple,
    6   Inc., 791 F.3d 290, 321 (2d Cir. 2015). As the Second Circuit put it, “[b]y agreeing
    7   to orchestrate a horizontal price-fixing conspiracy, Apple committed itself to
    8   ‘achiev[ing] [that] unlawful objective’: namely, collusion with and among the
    9   Publisher Defendants to set ebook prices. This type of agreement, moreover, is a
   10   restraint ‘that would always or almost always tend to restrict competition and
   11   decrease output’”—in other words, a per se Section 1 violation. Id. at 322 (internal
   12   citations omitted). That holding applies equally here.
   13         For another, the case that WC cites for its “principal and agent” claim—
   14   American Needle, Inc. v. NFL, 560 U.S. 183 (2010)—is inapposite. The Court there
   15   held that NFL teams’ arrangement to license intellectual property rights exclusively
   16   through a single entity did not immunize them from Section 1 liability. Id. at 189-95.
   17   As the Court explained, because this licensing entity brought together “independent
   18   centers of decisionmaking,” thereby depriving the marketplace of “actual or potential
   19   competition” between those decisionmakers, the arrangement was actionable under
   20   Section 1. Id. at 190, 195. Similarly, Pandora alleges that but for WC, comedians
   21   would compete with each other. E.g., Counterclaims ¶¶ 35, 37. They were “separate
   22   economic actors” (Am. Needle, 560 U.S. at 195), but now they are not, as a result of
   23   the conspiracy that WC has facilitated with and among them.
   24         Tying claim. Pandora has alleged that WC accumulated market power in the
   25   relevant product market, tied one product (the rights to desirable comedy material)
   26   to another product (the rights to “other, less desirable material”), and is “forc[ing]
   27   services to take the entire package” (Counterclaims ¶ 66), at a “substantially greater”
   28   total price, id. at ¶¶ 66, 70. These are precisely the sorts of allegations that subject
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 31 of 33 Page ID #:607



    1   tying to “per se condemnation.”18 WC’s attempt to dismiss Pandora’s tying claim
    2   distorts the case law and ignores Pandora’s allegations.
    3         First, although Pandora plainly alleged two different products, WC complains
    4   that Pandora does not allege separate product markets for the tying and tied products.
    5   Mot. 24. This objection has no legal basis: The Supreme Court has condemned the
    6   tying together of other copyright-protected works that unquestionably compete with
    7   each other in the same product market. See, e.g., United States v. Paramount Pictures,
    8   Inc., 334 U.S. 131, 159 (1948) (“block booking” of motion pictures); United States
    9   v. Loew’s, Inc., 371 U.S. 38, 49-50 (1962) (licensing feature films to television
   10   stations only in bundles containing unwanted films), overruled in part on other
   11   grounds by Ill. Tool Works Inc. v. Ind. Ink, Inc., 547 U.S. 28 (2006).19
   12         If Jefferson Parish—which referred to “two separate product markets,” 466
   13   U.S. at 21—meant what WC suggests (Mot. 24), it would have had to overrule both
   14   Paramount and Loew’s, “which found an illegal tie between copyrighted films that
   15   were partial substitutes competing in the same market for film audiences.” P. Areeda
   16   & H. Hovenkamp, Antitrust Law ¶ 1747c (4th and 5th eds. 2015-2021). But the
   17   Jefferson Parish Court “did not purport to overrule Paramount and Loew’s.” Id. To
   18   the contrary, it cited both cases without so much as suggesting tension on that point.
   19   See 466 U.S. at 10 n.14, 13 n.19, 14, & 16. The additional decisions cited by WC
   20   offer it no help: Times-Picayune Publishing Co. v. United States, 345 U.S. 594, 613
   21   (1953), found no tying because morning-paper and evening-paper advertising were
   22
        18
   23     Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 913 (9th Cir. 2008) (citing
        Eastman Kodak, 504 U.S. at 461-62, & Paladin Assocs., Inc. v. Montana Power Co.,
   24
        328 F.3d 1145, 1159 (9th Cir. 2003)); see also Jefferson Parish Hosp. Dist. No. 2 v.
   25   Hyde, 466 U.S. 2, 15-16 (1984) (listing same elements for “per se condemnation”).
        19
   26     See also, e.g., MCA Tele. Ltd. v. Pub. Interest Corp., 171 F.3d 1265, 1277-78 (11th
        Cir. 1999) (package television-programming license); Grid Sys. Corp. v. Texas
   27   Instruments Inc., 771 F. Supp. 1033, 1038 (N.D. Cal. 1991) (denying motion to
   28   dismiss tying claim against package patent license).
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                                   PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 32 of 33 Page ID #:608



    1   “the selfsame ‘product’”; and Freeman v. San Diego Association of Realtors, 322
    2   F.3d 1133 (9th Cir. 2003), is not a tying case at all.
    3         Second, WC’s argument (Mot. 25) that Pandora has not sufficiently alleged
    4   market power ignores Pandora’s extensive allegations on the subject, along with the
    5   resulting coercion that is “the essential characteristic of an invalid tying
    6   arrangement.” Jefferson Parish, 466 U.S. at 12; see also Counterclaims ¶¶ 66 & 76;
    7   pp. 17-19, supra. These allegations far exceed what “suffice[d] to survive a motion
    8   to dismiss” in Newcal, 513 F.3d at 1051-52 (upholding allegations that defendant
    9   was “‘able to force purchasers of the tying product who are locked in at the end of
   10   the original term . . . to buy the tied product’”).
   11         Finally, WC’s argument that Pandora fails to allege the necessary substantial
   12   volume of commerce affected by the tying simply ignores Pandora’s counterclaim.
   13   But for the tying, Pandora would license some material that competed with WC’s
   14   less desirable material, or even license WC’s material—at a competitive price, not
   15   the one imposed by WC’s collusive tie-in. See Counterclaims ¶ 70.20 The tying thus
   16   anticompetitively “increases the market for” WC’s less desirable material.
   17   Paramount, 334 U.S. at 158; see Counterclaims ¶¶ 66, 70.
   18                                       CONCLUSION
   19         For the foregoing reasons, the Court should deny the motion to dismiss.21
   20
   21
        20
          Contrary to WC’s suggestion, Pandora does not allege that it would never license
   22
        the less-desirable material under any circumstances. This therefore is not the “zero-
   23   foreclosure” situation WC posits (Mot. at 25), in which the “plaintiff does not allege
        that it would have taken competing recordings or patents from a different seller but
   24
        that it does not want a certain subset of these IP rights at all.” Antitrust Law ¶ 1724b2.
   25   WC’s cases on this point are thus irrelevant.
        21
   26     If the Court does grant the motion to dismiss the counterclaims, Pandora should be
        granted leave to amend. See, e.g., Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d
   27   1048, 1051 (9th Cir. 2003) (noting that leave to amend should be freely granted “with
   28   extreme liberality”) (quotations omitted).
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                                    PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
Case 2:22-cv-00809-MCS-MAR Document 54 Filed 08/05/22 Page 33 of 33 Page ID #:609



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                                PANDORA MEDIA, LLC’S OPPOSITION TO MOTION TO DISMISS COUNTERCLAIMS
